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 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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12   MATTHEW JAMES GRIFFIN,                                Case No. 1:13-cv-01599-LJO-BAM
13                                          Plaintiff, [PROPOSED] ORDER GRANTING
                                                       DEFENDANTS’ EX PARTE MOTION
14                  v.                                 TO TAKE PLAINTIFF-INMATE
                                                       MATTHEW JAMES GRIFFIN’S
15                                                     DEPOSITION AND REQUEST FOR
                                                       PHYSICAL RESTRAINTS
16   A. JOHNSON, et al.,
17                                       Defendants.
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20         The Court, having Considered Defendants’ Motion to Take Plaintiff-Inmate Matthew James

21   Griffin’s Deposition, and good cause having been found:

22         IT IS HEREBY ORDERED: Defendants’ Motion to Take Plaintiff-Inmate Matthew James

23   Griffin’s Deposition is granted. Plaintiff Matthew James Griffin, # 1481522, a necessary and

24   material witness in this case is an inmate confined in Alexander Correctional Institution, in the

25   custody of the Warden. In order to secure inmate-Plaintiff Matthew James Griffin’s attendance

26   at his deposition, the Court commands that custodian to produce the inmate to appear at

27   Alexandria Correctional Institution, 633 Old Landfill Road, Taylorsville, North Carolina on

28   Friday September 23, 2016, at 10:00 a.m., until completion of the deposition.
                                                       1
               [PROPOSED] ORDER GRANTING DEFENDANTS’ EX PARTE MOTION TO TAKE PLAINTIFF’S
                     DEPOSITION AND REQUEST FOR PHYSICAL RESTRAINTS (1:13-cv-01599-LJO-BAM)
     Case 1:13-cv-01599-LJO-BAM Document 93-6 Filed 09/09/16 Page 2 of 2

 1         The custodian is further commanded to physically restrain inmate-Plaintiff Matthew James
 2   Griffin with writs, waist, and ankle cuffs and ensure that security personnel is present in the
 3   deposition room during the entirety of the deposition. In the alternative, the custodian may secure
 4   inmate-Plaintiff Matthew James Griffin in a holding cell, until completion of the deposition.
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 6   Dated: ___________________________                    _______________________________
                                                           The Honorable Barbara A. McAuliffe
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                [PROPOSED] ORDER GRANTING DEFENDANTS’ EX PARTE MOTION TO TAKE PLAINTIFF’S
                      DEPOSITION AND REQUEST FOR PHYSICAL RESTRAINTS (1:13-cv-01599-LJO-BAM)
